 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 1 of 6 PageID #: 240




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
             Plaintiff,                       )
                                              )
v.                                            )     CASE NO. 4:18CR805 HEA
                                              )              4:12CR182 HEA
MICHELLE L. SMITH,                            )
                                              )
             Defendant.                       )


                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s supplementary motion for

compassionate release under 18 U.S.C. § 3582. The government has filed its

response advising the Court that it will defer to the Court’s decision. For the

reasons set forth below, the Motion will be granted, with the conditions stated

herein.

                                Facts & Background

      Defendant is currently confined in the Bureau of Prisons (BOP) at the FCI

Pekin, Illinois. She was sentenced to a term of 10 months in the BOP on August

27, 2019 after pleading guilty to Theft of Government Funds in violation of 18

U.S.C. § 641. On the same date, the Court sentenced Defendant to a term of 8
 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 2 of 6 PageID #: 241




months for violating the terms of supervised release in case number 4:12CR 182

HEA. The sentences were ordered to run concurrently in each case.

      On March 30, 2020, Defendant filed an informal request with the BOP to be

transferred to home confinement for the remainder of her sentence due to the

COVID-19 pandemic. She also filed a follow-up to that request on April 4, 2020.

Counsel advises the Court that as far as he is aware, her request for home

confinement has not been granted. On April 8, 2020, Defendant made a separate

request for a reduction in sentence due to the COVID-19 pandemic under 18

U.S.C. § 3582. This request for compassionate release was denied by the warden

on May 5, 2020. She is in the process of appealing the denial.

      Defendant asks that the Court to reduce the custodial portion of her sentence

to time served under 18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act,

which allows inmates to file requests for compassionate release for “extraordinary

and compelling reasons.” Defendant is 43 years old and suffers from obesity,

hypertension, osteoarthritis and several other physical and mental health

conditions.

                                    Discussion

      Under Section 603(b) of the First Step Act, effective December 21, 2019, an

inmate may now herself (or through her advocate) file a motion for compassionate

release pursuant to 18 U.S.C. § 3582(c). Previously, a court could only act to
 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 3 of 6 PageID #: 242




reduce a defendant’s sentence for “extraordinary and compelling reasons” if the

Director of BOP filed such a motion. As the proponent of the motion, Defendant

bears the burden of proving both that she has satisfied the procedural prerequisites

for judicial review and “extraordinary and compelling reasons” exist to support the

motion. 18 U.S.C. § 3582(c)(1)(A); see United States v. Butler, 970 F.2d 1017,

1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive access to

proof on a given issue normally has the burden of proof as to that issue.”).

Exhaustion of BOP Administrative Process

      In her supplemental motion, Defendant alleges that she exhausted her

remedies by way of her request to the warden at FCI Pekin. It appears that

Defendant has sufficiently exhausted her administrative rights and therefore

qualifies for consideration for a reduction in sentence or compassionate release

under the First Step Act.

Merits

      To evaluate Defendant’s request for reduction in sentence, the Court must

turn to amended 18 U.S.C. § 3582(c)(1)(A). Any reductions must be consistent

with applicable policy statements issued by the United States Sentencing

Commission. Specifically, U.S.S.G. § 1B1.13 governs compassionate-release

reductions. Application Note 1 to the commentary to § 1B1.13 provides specific

and limited grounds for release under § 3582(c)(1)(A):
 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 4 of 6 PageID #: 243




1. Extraordinary and Compelling Reasons.—Provided the defendant meets the

requirements of subdivision (2) [regarding absence of danger to the community],

extraordinary and compelling reasons exist under any of the circumstances set

forth below:

      (A) Medical Condition of the Defendant.—

               (i) The defendant is suffering from a terminal illness (i.e., a serious
               and advanced illness with an end of life trajectory). A specific
               prognosis of life expectancy (i.e., a probability of death within a
               specific time period) is not required. Examples include metastatic
               solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
               organ disease, and advanced dementia.

               (ii) The defendant is—

                     (I) suffering from a serious physical or medical condition,

                     (II) suffering from a serious functional or cognitive impairment,

                     or

                     (III) experiencing deteriorating physical or mental health
                     because of the aging process, that substantially diminishes the
                     ability of the defendant to provide self-care within the
                     environment of a correctional facility and from which he or she
                     is not expected to recover.

      (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
      experiencing a serious deterioration in physical or mental health because of
      the aging process; and (iii) has served at least 10 years or 75 percent of his
      or her term of imprisonment, whichever is less.

      (C) Family Circumstances.—

               (i) The death or incapacitation of the caregiver of the defendant’s
               minor child or minor children.
 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 5 of 6 PageID #: 244




             (ii) The incapacitation of the defendant’s spouse or registered partner
             when the defendant would be the only available caregiver for the
             spouse or registered partner.

      (D) Other Reasons.—As determined by the Director of the Bureau of
      Prisons, there exists in the defendant’s case an extraordinary and compelling
      reason other than, or in combination with, the reasons described in
      subdivisions (A) through (C).

      In support of her request, Defendant states that she suffers from obesity,

hypertension, osteoarthritis and several other physical and mental health

conditions. She has previously been diagnosed with anxiety, depression, attention

deficit disorder, personality disorder, and post-traumatic stress disorder. These

conditions classify Defendant in the Center for Disease Control’s high risk

category for suffering serious medical risk were she to contract COVID-19. The

Court understands Defendant’s medical conditions put her at increased risk.

      Additionally, Defendant has only two months remaining on her sentence.

The Court finds “extraordinary and compelling” reasons to grant release here.

      The Court must also find that Defendant no longer presents a danger to the

community and that the sentencing factors in 18 U.S.C. § 3553(a) weigh in favor

of early release. Since her incarceration in October 2019, Defendant has not

incurred a single disciplinary violation. In addition, she has maintained a job

assignment as a unit orderly, despite her physical limitations. She was gainfully

employed the entire time on bond before surrendering to serve her sentence and

expects to be employed upon release.
 Case: 4:18-cr-00805-HEA Doc. #: 66 Filed: 06/23/20 Page: 6 of 6 PageID #: 245




      The Court finds that sentencing factors weigh in favor of release. However,

the Court also finds that there is a need to quarantine defendant for period of at

least fourteen days to protect public health. Specifically, the Court retains

jurisdiction over this motion for fourteen days.

      Accordingly,

      IT IS HEREBY ORDERED that the Supplemental Motion for Relief

Under the First Step Act is granted, provided, that the BOP place Defendant in

quarantine for 14 days. If Defendant has not displayed symptoms or tested

positive for COVID-19 during that period, the Court will then order release. If

Defendant does test positive during the initial fourteen-day period, the United

States will notify the Court and seek an extension of the release date until

Defendant has tested negative.

      IT IS FURTHER ORDERED that the Court imposes an additional term of

supervised release, namely a period of home confinement until August 13, 2020.

Such a period of home confinement would protect the public and enable Defendant

to make a smooth transition back to the community.

      Dated this 23rd day of June, 2020.




                                        ________________________________
                                           HENRY EDWARD AUTREY
                                        UNITED STATES DISTRICT JUDGE
